Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 1 of 26 PageID #: 165




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC,

     Plaintiff,
                                           CASE NO. 2:23-CV-00473-JRG
     v.
                                             JURY TRIAL DEMANDED
DEXCOM, INC.,

     Defendant.



          DEXCOM, INC.’S MOTION FOR JUDGMENT ON THE PLEADINGS
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(C)
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 2 of 26 PageID #: 166




                                                 TABLE OF CONTENTS

I.    SUMMARY OF THE ARGUMENT ...................................................................................... 1

II. NATURE AND STATE OF THE PROCEEDINGS .............................................................. 2

III. STATEMENT OF THE ISSUE .............................................................................................. 2

IV. STATEMENT OF THE FACTS ............................................................................................. 2

V. LEGAL STANDARD ............................................................................................................. 4

       A. Legal Standard for Dismissal Pursuant to Rule 12(c). ..................................................... 4

             1. This Case Should Be Disposed of at the Pleading Stage Through Rule 12(c). ........... 4

             2. The Law of 35 U.S.C. § 101........................................................................................ 5

VI. ARGUMENT .......................................................................................................................... 6

       A. The Asserted Patents Are Invalid Under § 101. ............................................................... 7

             1. Claim 1 of the ’752 Patent is representative................................................................ 7

             2. Alice Step 1: Claim 1 of the ’752 Patent is directed to the abstract idea of data
                recognition and retrieval. ............................................................................................. 9

             3. Alice Step 2: The claims of the Asserted Patents contains no inventive concept
                sufficient to transform the abstract idea into patent-eligible matter. ......................... 14

       B. There Are No Claim Construction or Factual Disputes Preventing the Court From
          Ruling on This Issue at the Rule 12 Stage. .................................................................... 17
VII. CONCLUSION ..................................................................................................................... 19




                                                                    i
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 3 of 26 PageID #: 167




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Aatrix Software, Inc. v. Green Shades Software, Inc.,
   882 F.3d 1121 (Fed. Cir. 2018)..................................................................................................1

Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
    134 S. Ct. 2347 (2014) ..................................................................................................... passim

Ancora Technologies, Inc. v. HTC America, Inc.,
   908 F.3d 1343 (Fed. Cir. 2018)................................................................................................13

Appistry, Inc. v. Amazon.com, Inc.,
   195 F. Supp. 3d 1176 (W.D. Wash., 2016) aff’d sub nom. Appistry, LLC v. Amazon.com, Inc.,
   676 F. App’x 1008 (Fed. Cir. 2017) ........................................................................................18

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................4

Bancorp Servs. L.L.C. v. Sun Life Assur. Co.,
   687 F.3d 1266 (Fed. Cir. 2012)............................................................................................5, 16

Berkheimer v. HP Inc.,
   881 F.3d 1360 (Fed. Cir. 2018)................................................................................................17

Bilski v. Kappos,
    561 U.S. 593 (2010) ...........................................................................................................5, 6, 9

buySAFE, Inc. v. Google, Inc.,
   765 F.3d 1350 (Fed. Cir. 2014)................................................................................................16

Cellspin Soft, Inc. v. Fitbit, Inc.,
   927 F.3d 1306 (Fed. Cir. 2019)..................................................................................................1

Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
   776 F.3d 1343 (Fed. Cir. 2014)................................................................................8, 10, 11, 16

Cuvillier v. Sullivan,
   503 F.3d 397 (5th Cir. 2007) .................................................................................................4, 5

Cyberfone Sys., LLC v. CNN Interactive Grp., Inc.,
   558 F. App’x 988 (Fed. Cir. 2014) ..........................................................................................13

CyberSource Corp. v. Retail Decisions, Inc.,
   654 F.3d 1366 (Fed. Cir. 2011)..................................................................................................6


                                                                    ii
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 4 of 26 PageID #: 168




DDR Holdings, LLC v. Hotels.com, L.P.,
  773 F.3d 1245 (Fed. Cir. 2014)................................................................................................15

Diamond v. Chakrabarty,
   447 U.S. 303 (1980) ...................................................................................................................5

Diamond v. Diehr,
   450 U.S. 175 (1981) ...................................................................................................................6

Dropbox, Inc. v. Synchronoss Techs., Inc.,
   815 F. App’x 529 (Fed. Cir. 2020) ..........................................................................................18

Enfish, LLC v. Microsoft Corp.,
   822 F.3d 1327 (Fed. Cir. 2016)................................................................................................15

First-Class Monitoring, LLC v. Ups of Am., Inc.,
    389 F. Supp. 3d 456 (E.D. Tex. 2019) .....................................................................................17

Fort Props., Inc. v. Am. Master Lease LLC,
   671 F.3d 1317 (Fed. Cir. 2012)..................................................................................................6

Hacienda Recs., L.P. v. Ramos,
   718 F. App’x 223 (5th Cir. 2018) ..............................................................................................4

Intellectual Ventures I LL v. Capital One Bank U.S.A.,
    792 F.3d 1363 (Fed. Cir. 2015)................................................................................................16

Internet Patents Corp. v. Active Network, Inc.,
    790 F.3d 1343 (Fed. Cir. 2015)................................................................................................14

Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
  132 S. Ct. 1289 (2012) ...............................................................................................................6

Parker v. Flook,
   437 U.S. 584 (1978) ...................................................................................................................6

Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc.,
   2:16-cv-152-JRG-RSP, 2017 WL 1065938 (E.D. Tex. Mar. 8, 2017) ......................................9

PPS Data, LLC v. Jack Henry & Assocs., Inc.,
   No. 2:18-cv-00007-JRG, 2019 WL 1317286 (E.D. Tex. Mar. 21, 2019)..................................8

Recognicorp, LLC v. Nintendo Co., Ltd.,
   855 F.3d 1322 (Fed. Cir. 2017)....................................................................................11, 12, 16

SAP Am., Inc. v. InvestPic, LLC,
   898 F.3d 1161 (Fed. Cir. 2018)..................................................................................................9



                                                                    iii
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 5 of 26 PageID #: 169




Secured Mail Solutions LLC v. Universal Wilde, Inc.,
   873 F.3d 905 (Fed. Cir. 2017)..................................................................................1, 12, 14, 15

Simio, LLC v. FlexSim Software Products, Inc.,
   983 F.3d 1353 (Fed. Cir. 2020)................................................................................................18

In re TLI Commc’ns LLC Patent Litig.,
    823 F.3d 607 (Fed. Cir. 2016)..................................................................................................15

Ultramercial, Inc. v. Hulu, LLC,
    772 F.3d 709 (Fed. Cir. 2014) (Mayer, J., concurring)............................................5, 10, 13, 14

Statutes

35 U.S.C. § 101 ...................................................................................................................... passim

Other Authorities

Fed. R. Civ. P. 12(b)(6)..........................................................................................................1, 4, 18

Fed. R. Civ. P. 12(c) ............................................................................................................1, 2, 4, 7




                                                                     iv
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 6 of 26 PageID #: 170




I.     SUMMARY OF THE ARGUMENT

       DexCom, Inc. (“DexCom”) requests that the Court dismiss this case because U.S. Patent

Nos. 7,992,773 (the “’773 Patent”), 8,424,752 (the “’752 Patent”), 8,651,369 (the “’369 Patent”),

and 8,936,190 (the “’190 Patent”) (the “Asserted Patents”) do not embrace patent-eligible subject

matter. The claims of the Asserted Patents are directed to the abstract idea of data recognition and

retrieval, and none of the claims recites any specific non-conventional hardware or software. In

Secured Mail Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017), the

Federal Circuit held claims directed to decoding a QR code—like the claims at issue in this case—

invalid under Alice, and affirmed the district court’s grant of a motion to dismiss pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure. The claims of the Asserted Patents cannot be

meaningfully distinguished from the Secured Mail claims and are thus invalid for the same reasons.

       In its Complaint, Symbology included allegations of novelty and non-obviousness. (See,

e.g., Dkt. No 1 (“Compl.”), ¶¶ 13, 16, 19.) These allegations consist of legal conclusions and

characterizations of the claimed invention that are contradicted by the patent’s specification. While

pleadings may properly be considered for a Rule 12 motion to dismiss (subject to the

Twombly/Iqbal pleading standards), the pleadings cannot be used to alter or rewrite the terms of a

patent or to confer eligibility on otherwise ineligible subject matter. Cf. Aatrix Software, Inc. v.

Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed. Cir. 2018); see also Cellspin Soft, Inc. v.

Fitbit, Inc., 927 F.3d 1306, 1317 (Fed. Cir. 2019). They are thus irrelevant to the § 101 analysis.

       Resolving this issue does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating an invalid patent, DexCom thus

requests that the Court dismiss the Complaint pursuant to Rule 12(c).




                                                 1
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 7 of 26 PageID #: 171




II.    NATURE AND STATE OF THE PROCEEDINGS

       On October 5, 2023, Plaintiff Symbology filed its Complaint for patent infringement,

accusing DexCom of infringing the Asserted Patents. Symbology accuses DexCom of infringing

at least Claim 1 of the ’752 Patent, Claim 1 of the ’369 Patent, and Claim 1 of the ’190 Patent by

DexCom’s alleged use of a Quick Response Code. (See Compl., ¶ 40.)1

III.   STATEMENT OF THE ISSUE

       Abstract ideas are ineligible for patentability under 35 U.S.C. § 101, absent an inventive

concept that amounts to significantly more than the abstract idea. The claims of the Asserted

Patents are directed to the abstract idea of data recognition and retrieval. The Asserted Patents do

not include an inventive concept beyond that idea. Should the Court therefore dismiss

Symbology’s claims pursuant to Rule 12(c)?

IV.    STATEMENT OF THE FACTS

       The Asserted Patents are directed to “enabling a portable electronic device to retrieve

information about an object when the object’s symbology, e.g., a barcode, is detected.” ’752 Patent

and ’369 Patent, at Abstract. Claim 1 of the ’752 Patent, set forth below, is representative of the

claims of the Asserted Patents:

               1. A method comprising:

               capturing a digital image using a digital image capturing device that is
                  part of a portable electronic device;

               detecting symbology associated with an object within the digital image
                   using a portable electronic device;



1
 Symbology’s Complaint explicitly includes infringement counts for the ’752 Patent, ’369 Patent,
and ’190 Patent. (See Compl., ¶¶ 44, 61, 78.) However, the Complaint also states that “Plaintiff
alleges infringement on the part of Defendant of the ’773 Patent” and includes the patent as an
exhibit. (Compl., ¶ 14, Ex. A.) As such, DexCom’s Motion also addresses the ineligibility of the
’773 Patent.

                                                 2
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 8 of 26 PageID #: 172




               decoding the symbology to obtain a decode string using one or more
                  visual detection applications residing on the portable electronic
                  device;

               sending the decode string to a remote server for processing;

               receiving information about the object from the remote server wherein
                   the information is based on the decode string of the object;

               displaying the information on a display device associated with the
                   portable electronic device.

               ’752 Pat., Cl. 1.

       Under Symbology’s characterization of the Asserted Patents, this claim can be broken

down into six main steps: (1) capturing an image with a camera or a scanner on a “portable

electronic device” (e.g., taking a photograph or scanning an image with a smartphone); (2)

detecting a symbology (e.g., recognizing a barcode in the captured image); (3) decoding the

symbology to obtain a “decode string” (e.g., reading information from the barcode); (4) sending

the “decode string” to a “server” for processing (e.g., requesting a webpage based on the

information obtained from the barcode); (5) receiving information from the “server” in response

(e.g., receiving the contents of the webpage ); and (6) displaying the information received on the

portable electronic device (e.g., displaying a webpage). Put simply, these steps are directed to

recognizing and retrieving information associated with a pattern.

       The applicant made clear through his own language in the specification that the

components and processes for carrying out the claimed method were conventional. For example,

the claimed “portable electronic device” can be virtually any mobile device capable of taking a

photograph or scanning an image. See ’752 Patent, 1:58–61 (“Examples of the portable electronic

devices that contain both applications and imaging systems include Apple Computer’s IPhone,

Google’s Droid, and various mobile devices from Motorola”); id., 2:57–61 (“Using any applicable


                                                3
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 9 of 26 PageID #: 173




visual detection device (e.g., a camera, scanner, or other device) on the portable electronic device,

the user may select an object by scanning or capturing an image of symbology (e.g., barcodes)

associated with the object.”). The applicant further acknowledged that various programs and

applications operable on a portable electronic device to scan and decode a barcode were available

in the prior art. Id., 3:29–33 (“Examples of applications that allow scanning include Neomedia’s

Neo Reader, Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.”).

According to the ’752 Patent, once a barcode is decoded (using any of these existing applications),

the “decode string” (i.e., the information obtained from the barcode) is then “sent” to a “remote

server” to retrieve information (e.g., webpage content) that is then displayed on the portable

electronic device. Id., 3:21–28.

V.     LEGAL STANDARD

           A. Legal Standard for Dismissal Pursuant to Rule 12(c).

               1. This Case Should Be Disposed of at the Pleading Stage Through Rule
                  12(c).

       In the Fifth Circuit, Rule 12(c) motion standards are the same as Rule 12(b)(6) motion

standards. Hacienda Recs., L.P. v. Ramos, 718 F. App’x 223, 227 (5th Cir. 2018) (citing Guidry

v. Am. Pub. Ins. Co., 512 F.3d 177, 180 (5th Cir. 2007)). Under Rule 12(b)(6) of the Federal Rules

of Civil Procedure, a party may move to dismiss a complaint that fails to state a claim upon which

relief can be granted. To survive a Rule 12(b)(6) motion, a complaint “must provide the plaintiff’s

grounds for entitlement to relief—including factual allegations that when assumed to be true raise

a right to relief above the speculative level.” Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir.

2007). Although factual allegations are taken as true, legal conclusions are given no deference—

those matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (tenet

that allegations are taken as true on a motion to dismiss “is inapplicable to legal conclusions”).


                                                  4
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 10 of 26 PageID #: 174




“[W]hen the allegations in a complaint, however true, could not raise a claim of entitlement to

relief [as a matter of law], this basic deficiency should . . . be exposed at the point of minimum

expenditure of time and money by the parties and the court.” Cuvillier, 503 F.3d at 401 (internal

citations and quotations omitted).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a validity

determination under § 101.”).

               2. The Law of 35 U.S.C. § 101.

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Also,

the law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and

abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980). Abstract ideas are ineligible

for patent protection because a monopoly over these ideas would preempt their use in all fields.

See Bilski, 561 U.S. at 611–12. In other words, “abstract intellectual concepts are not patentable,

as they are the basic tools of scientific and technological work.” Id. at 653 (quoting Gottschalk v.

Benson, 409 U.S. 63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible



                                                  5
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 11 of 26 PageID #: 175




concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the

claim contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e.,

an element or combination of elements that is sufficient to ensure that the patent in practice

amounts to significantly more than a patent upon the ineligible concept itself.” Id. (internal

quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed in

the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource Corp.

v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully

limited if it includes only token or insignificant pre- or post-solution activity—such as identifying

a relevant audience, category of use, field of use, or technological environment. Mayo, 132 S. Ct.

at 1297–98, 1300–01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14

(1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional

steps, specified at a high level of generality, to laws of nature, natural phenomena, and abstract

ideas cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see

also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a

broad and general limitation does not impose meaningful limits on the claim’s scope.”).

VI.    ARGUMENT

       Symbology’s Complaint should be dismissed. The claims of the Asserted Patents are

invalid under 35 U.S.C. § 101 because they fail both steps of the Alice test. Each of the claims is

directed to the abstract idea of data recognition and retrieval. Abstract ideas are not eligible for

patenting. None of the claims contains an “‘inventive concept’ . . . sufficient to ensure that the



                                                 6
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 12 of 26 PageID #: 176




patent in practice amounts to significantly more than a patent upon the ineligible concept itself.”

See Alice, 134 S. Ct. at 2355 (emphasis added). Thus, DexCom respectfully requests that the Court

render judgment on the pleadings against Symbology and dismiss this case with prejudice. Fed. R.

Civ. P. 12(c).

       A.        The Asserted Patents Are Invalid Under § 101.

                 1.    Claim 1 of the ’752 Patent is representative.

       Claim 1 of the ’752 Patent is representative of the other claims of the Asserted Patents

because the claims contain the same essential elements. Specifically, all the independent claims,

Claims 1, 12, and 15 of the ’773 Patent, 1, 17, and 24 of the ’752 Patent, 1, 17, and 24 of the ’369

Patent, and 1, 17, and 20 of the ’190 Patent include: (1) capturing an image with a camera or a

scanner; (2) detecting a symbology; (3) decoding the symbology to obtain a “decode string”; (4)

sending the “decode string” to a “server” for processing; (5) receiving information from the

“server” in response; and (6) displaying the information received. In addition, Claim 12 of the ’773

Patent, Claim 17 of the ’752 Patent, Claim 17 of the ’369 Patent, and Claim 17 of the ’190 Patent

relate to “[a] computer application stored on a computer-readable medium and executable by a

processing device incorporated in a portable electronic device” performing the same functions,

and Claim 15 of the ’773 Patent, Claim 24 of the ’752 Patent, Claim 24 of the ’369 Patent, and

Claim 20 of the ’190 Patent relate to a “symbology management application” performing the same

functions.

       Some of the dependent claims recite limitations for: (1) running visual detection

applications in the background (Cl. 4); (2) configuring visual detection applications to

automatically detect barcodes (Cl. 5); and (3) analyzing the decode string and selecting appropriate

application to decode (Cl. 9). These claims also suffer from the same results-oriented (and thus

ineligible) claim language as Claim 1 of the ’752.

                                                 7
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 13 of 26 PageID #: 177




       Other dependent claims recite insignificant pre- or post-solution activity, such as allowing

a user to select certain preferences or store data:

                       Pre- or Post-Solution Activity                                 Claims

 enabling users to select certain preferences                                         2, 3, 18

 detecting barcodes and symbology based on user request                                   7

 sending instructions to visual detection applications and remote servers                 8

 enabling the user to store information                                                  11

 providing e-commerce options to the user                                                12

 decoding barcodes and symbology using visual search technology                        15, 23

       The remaining claims recite activity like alerting the user and asking to decode a barcode,

analyzing a decode string and selecting the appropriate application to decode, allowing the user to

select an application to decode the barcode, and displaying information and images. See, e.g., ’752

Pat. and ’369 Pat., Cls. 6, 10, 13, 14, 16, 19, 20, 21, and 22. None of the dependent claims recite

more than insignificant pre- or post-solution activity and this does not change the analysis under §

101. See, e.g., ’773 Patent, Cls. 2–11, 13–14, 16–18; ’752 Patent, Cls. 2–16, 18–23, 25–28; ’369

Patent, Cls. 2–16, 18–23, 25–28; ’190 Patent, Cls. 2–16, 18–19.

        Similar to the claim limitations in the representative Claim 1 of the ’752 Patent, the

additional claim limitations consist of generic components used for their conventional purpose,

and thus, they do not alter the § 101 analysis. Claim 1 is thus representative for the § 101 analysis.

See PPS Data, LLC v. Jack Henry & Assocs., Inc., No. 2:18-cv-00007-JRG, 2019 WL 1317286,

at *5 (E.D. Tex. Mar. 21, 2019) (articulating that defendants first bear the burden of demonstrating

a claim is representative, which then shifts to the plaintiff to identify a difference material to the

§ 101 analysis); see also Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l


                                                      8
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 14 of 26 PageID #: 178




Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014); Phoenix Licensing, L.L.C. v. Consumer Cellular,

Inc., 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8–9 (E.D. Tex. Mar. 8, 2017).

               2.      Alice Step 1: Claim 1 of the ’752 Patent is directed to the abstract idea
                       of data recognition and retrieval.

       In determining patent eligibility under § 101, the Court must first determine whether the

claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

claims of the Asserted Patents are directed to an unpatentable, abstract idea because they claim

nothing more than the “longstanding,” “routine,” and “conventional” concept of data recognition

and retrieval. See Alice, 134 S. Ct. at 2356–59; Bilski, 561 U.S. at 611.

       In assessing whether Claim 1 is directed to an abstract idea, the Court begins by analyzing

the “focus” of the claim, i.e., its “character as a whole,” in order to determine whether the claim is

directed to an abstract idea. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018).

All Claim 1 of the ’752 Patent covers is a way to use a barcode to obtain information in order to

access a webpage, consisting of nothing more than a set of basic ideas like capturing, detecting,

decoding, sending, receiving, and displaying data:

                             Claim Language                                       Claimed Idea

 A method comprising:

 capturing a digital image using a digital image capturing                     capturing data
     device that is part of a portable electronic device;
 detecting symbology associated with an object within the                      detecting data
     digital image using a portable electronic device;
 decoding the symbology to obtain a decode string using one                    decoding data
     or more visual detection applications residing on the
     portable electronic device;
 sending the decode string to a remote server for processing;                  sending data

 receiving information about the object from the remote                        receiving data
     server wherein the information is based on the decode
     string of the object;



                                                  9
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 15 of 26 PageID #: 179




 displaying the information on a display device associated                    displaying data
     with the portable electronic device.

        At a high level, this claim describes the most generic functional steps of a standard

computer (i.e., capturing, detecting, decoding, sending, receiving, and displaying data). Such a

broad concept is not patent eligible because it “recite[s] an abstraction—an idea, having no

particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. That the claim purports to

implement the steps with conventional components like a “portable electronic device,” a “remote

server,” a “display device,” and generic “visual detection applications” does not make it any less

abstract.

        The specification admits that barcode scanning and decoding programs were prevalent at

the time of the invention. ’752 Pat., 3:29–36. Indeed, the claims implement this prior-art

technology to carry out the steps of capturing, detecting, decoding, and retrieving information from

a server. Claim 1 of the ’752 Patent does no more than use existing technology to recognize an

image, decode the image, then do something based upon the decoded information. It is thus

directed to the abstract idea of data recognition and retrieval.

        Courts have found similar patent claims to be ineligible. In Content Extraction, the claims

generally recited “a method of 1) extracting data from hard copy documents using an automated

digitizing unit such as a scanner, 2) recognizing specific information from the extracted data, and

3) storing that information in a memory.” Content Extraction, 776 F.3d at 1345. The claimed

method “could be performed by software on an automated teller machine (ATM) that recognizes

information written on a scanned check, such as the check’s amount, and populates certain data

fields with that information in a computer’s memory.” Id. The Federal Circuit concluded in Alice’s

first step that the claims were “drawn to the abstract idea of 1) collecting data, 2) recognizing

certain data within the collected data set, and 3) storing that recognized data in a memory”; or, put


                                                  10
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 16 of 26 PageID #: 180




simply: “data recognition and storage.” Id. at 1347. In rejecting the plaintiff’s argument that the

claims were not abstract because they required the use of a scanner, the Federal Circuit likened the

claims to those found abstract in Alice, which “also required a computer that processed streams of

bits.” Id. Like the Content Extraction claims, Claim 1 of the ’752 Patent is abstract because it

simply decodes an image to obtain information and then retrieves data from a server based on that

information. The claims in Content Extraction were directed to data recognition and storage,

whereas the ’752 Patent is directed to data recognition and retrieval—the former claims stored the

recognized data, while the latter claims retrieve additional data based on the recognized data.

       In Recognicorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322 (Fed. Cir. 2017), the Federal

Circuit found the patent claim at issue to be directed toward the abstract idea of “encoding and

decoding image data.” Recognicorp, 855 F.3d at 1324. The claim at issue in Recognicorp recited:

       A method for creating a composite image, comprising:

       displaying facial feature images on a first area of a first display via a first device
           associated with the first display, wherein the facial feature images are
           associated with facial feature element codes;

       selecting a facial feature image from the first area of the first display via a user
           interface associated with the first device;

       wherein the first device incorporates the selected facial feature image into a
          composite image on a second area of the first display, wherein the composite
          image is associated with a composite facial image code having at least a
          facial feature element code and wherein the composite facial image code is
          derived by performing at least one multiplication operation on a facial code
          using one or more code factors as input parameters to the multiplication
          operation; and

       reproducing the composite image on a second display based on the composite
           facial image code.

Id. The Federal Circuit described the claim as a “method whereby a user displays images on a first

display, assigns image codes to the images through an interface using a mathematical formula, and



                                                 11
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 17 of 26 PageID #: 181




then reproduces the image based on the codes.” Id. at 1326. The Federal Circuit found that this

method reflected “standard encoding and decoding.” Id.

       The Federal Circuit then explained that encoding and decoding data is “an abstract concept

long utilized to transmit information.” Id. (citing Intellectual Ventures I LLC v. Capital One Fin.

Corp., 850 F.3d 1332, 1340–41 (Fed. Cir. 2017) (organizing, displaying, and manipulating data

encoded for human- and machine-readability is directed to an abstract concept)). The court

provided several examples of long-utilized methods of encoding and decoding of data to transmit

information: “Morse code, ordering food at a fast food restaurant via a numbering system, and

Paul Revere’s ‘one if by land, two if by sea’ signaling system all exemplify encoding at one end

and decoding at the other end.” Id. Claim 1 of the ’752 Patent likewise simply decodes an image

to obtain information, an abstract concept.

       Additionally, in Secured Mail, the Federal Circuit found claims directed to encoding and

decoding a bar code invalid under both Alice steps. Secured Mail, 873 F.3d at 907. The Secured

Mail claims “provide[d] a method whereby a barcode is generated, affixed to a mail object, and

sent through the mail system [and t]hen, upon receipt, the barcode is scanned, and data

corresponding to the sender is sent to the recipient over the network and displayed on the

recipient’s device.” Id. at 910–11. The Federal Circuit found that “each step of the process is

directed to the abstract process of communicating information about a mail object using a

personalized marking.” Id. at 911. And because the claims were “non-specific and lack[ed]

technical detail,” utilizing “well known” technologies and generic hardware, the Federal Circuit

concluded that the claims lacked an inventive concept. Id. at 912.

       The idea underlying Claim 1 of the ’752 Patent is just as abstract as those of the Content

Extraction, Recognicorp, and Secured Mail claims. Claim 1 of the ’752 Patent does not include



                                                12
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 18 of 26 PageID #: 182




any specific limitations or steps regarding extracting data or decoding the data. Rather, all of the

steps required to carry out the method are directed to the generic, conventional ideas of recognizing

an image, decoding the image, and then doing something based upon the decoded information.

Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 F. App’x 988, 992 (Fed. Cir. 2014) (finding

claim directed to “the well-known concept of categorical data storage, i.e., the idea of collecting

information in classified form, then separating and transmitting that information according to its

classification, is an abstract idea that is not patent-eligible”). That Claim 1 of the ’752 Patent sends

and receives the decoded information over a network does not make it any less abstract. See, e.g.,

Ultramercial, 772 F.3d at 716 (noting that “the use of the Internet is not sufficient to save otherwise

abstract claims from ineligibility under § 101”) (citation omitted).

       Claim 1 thus differs from the claims that the Federal Circuit has held to be eligible because

they claimed specific means for improving specific computer technology or solving specific

computer problems. For example, the Federal Circuit addressed the eligibility of claims directed

to improving computer security in Ancora Technologies, Inc. v. HTC America, Inc., 908 F.3d 1343

(Fed. Cir. 2018). In that case, the Federal Circuit held the claims eligible and stated, “Improving

security—here, against a computer’s unauthorized use of a program—can be a non-abstract

computer-functionality improvement . . . done by a specific technique that departs from earlier

approaches to solve a specific computer problem.” Id. at 1348. The court was persuaded because

“[t]he claimed method here specifically identifies how that functionality improvement is

effectuated in an assertedly unexpected way.” Id. The same is not true of Claim 1 of the ’752

Patent. It does not require a specific and unconventional technique, and it does not identify any

specific improvement to computer functionality, much less an unexpected way of effectuating such

an improvement.



                                                  13
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 19 of 26 PageID #: 183




       By only claiming the desired result—recognizing and retrieving information associated

with a pattern like a barcode—without describing any specific roadmap for doing so, Claim 1 of

the ’752 Patent falls short of claiming eligible subject matter under § 101. See Internet Patents

Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015); Secured Mail, 873 F.3d at

910–11.

               3.      Alice Step 2: The claims of the Asserted Patents contains no inventive
                       concept sufficient to transform the abstract idea into patent-eligible
                       matter.

       Because the claims of the Asserted Patents are directed to an abstract idea, the Court must

next determine whether it contains an “inventive concept sufficient to transform the claimed

abstract idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations

omitted). To pass this test, the claims “must include additional features” that “must be more than

well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation

omitted). Here, the claims are broadly generic and do not contain meaningful limitations that

would restrict it to a non-routine, specific application of the abstract idea.

       Each of the steps recited in Claim 1 of the ’752 Patent is described only at a high level of

generality as “capturing a digital image,” “detecting” a barcode, “decoding [the barcode] . . . to

obtain a decode string,” “sending the decode string to a remote server for processing,” “receiving

information . . . from the remote server,” and “displaying the information.” To accomplish these

steps, Claim 1 of the ’752 Patent recites the use of a “portable electronic device,” “visual detection

applications,” and a “remote server.” But the claimed “portable electronic device” can be virtually

any device capable of taking a photograph (’752 Pat., 1:58–61), the “visual detection applications”

can be a variety of off-the-shelf applications that users have installed on their smartphones (id.,

3:29–33), and the claimed “server” is implemented using generic hardware (id., 9:65–10:1) to

perform generic website functions (id., 5:33–42).

                                                  14
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 20 of 26 PageID #: 184




       The applicant’s own characterizations demonstrate that the claimed components do not

“improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for example by

disclosing an “improved, particularized method of digital data compression,” DDR Holdings, LLC

v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way a computer

stores and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed.

Cir. 2016). For example, in Enfish, the Federal Circuit distinguished the claims from others that

“simply add[ed] conventional computer components to well-known business practices,” id. at

1338, holding instead that “they [we]re directed to a specific improvement to the way computers

operate,” id. at 1336. In particular, the unconventional structure of the database resulted in

“increased flexibility, faster search times, and smaller memory requirements.” Id. at 1337. Unlike

Enfish, nothing in Claim 1 of the ’752 Patent shows any unconventional method that would amount

to a “specific improvement to the way computers operate.” Therefore, the focus of the ’752 Patent

is not “on [a] specific asserted improvement in computer capabilities” but instead “on a process

that qualifies as an ‘abstract idea’ for which computers are invoked merely as a tool.” Id. at 1336.

       There is simply nothing “inventive” about using a known process (i.e., decoding a barcode)

to access a website. See Secured Mail, 873 F.3d at 912. Moreover, the abstract functional

descriptions in Claim 1 of the ’752 Patent are devoid of any technical explanation as to how to

implement the purported invention in an inventive way. See In re TLI Commc’ns LLC Patent Litig.,

823 F.3d 607, 615 (Fed. Cir. 2016) (claims failed Alice’s step 2 where specification limited its

discussion of “additional functionality” of conventional components “to abstract functional

descriptions devoid of technical explanation as to how to implement the invention”). Similar to

the invalidated claim in Recognicorp, nothing in Claim 1 of the ’752 Patent “‘transforms’ the




                                                15
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 21 of 26 PageID #: 185




abstract idea of . . . decoding,” i.e., recognizing information, “into patent-eligible subject matter.”

Recognicorp, 855 F.3d at 1328 (citing Alice, 134 S. Ct. at 2357).

       Courts have repeatedly held that the presence of generic hardware and software like the

kind recited in Claim 1 of the ’752 Patent does not make an otherwise abstract idea patent-eligible.

See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer

receives and sends the information over a network—with no further specification—is not even

arguably inventive.”); Content Extraction, 776 F.3d at 1348 (“At most, [the] claims attempt to

limit the abstract idea of recognizing and storing information from hard copy documents using a

scanner and a computer to a particular technological environment. Such a limitation has been held

insufficient to save a claim in this context.”); Bancorp, 687 F.3d at 1276–77. In addition, an

“abstract idea does not become nonabstract by limiting the invention to a particular field of use or

technological environment, such as [mobile services].” Intellectual Ventures I LL v. Capital One

Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

       The other claims of the Asserted Patents include similar limitations regarding the abstract

idea, but they do not include the specificity necessary to claim patent-eligible subject matter. They

also do not include anything other than generic components and processes such that they fail to

contain an inventive concept. Accordingly, the other claims suffer from the same flaws as Claim

1 of the ’752 Patent. These claims also do not contain any inventive concept amounting to

“significantly more” than the abstract idea. They do not inject any unconventional computer

components or techniques. The claims simply apply the same abstract concept of data recognition

and retrieval, and the Federal Circuit has been clear that the abstract idea itself cannot confer an

inventive concept. See BSG Tech, 899 F.3d at 1290 (“It has been clear since Alice that a claimed




                                                  16
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 22 of 26 PageID #: 186




invention’s use of the ineligible concept to which it is directed cannot supply the inventive concept

that renders the invention ‘significantly more’ than that ineligible concept.”).

       Because the claims of the Asserted Patents are altogether devoid of any “inventive

concept,” they are patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359–60.

       B.      There Are No Claim Construction or Factual Disputes Preventing the Court
               From Ruling on This Issue at the Rule 12 Stage.

       The issue of the patent eligibility is ready for the Court’s consideration because there are

no factual or claim construction issues. This case is markedly different from Berkheimer and the

line of cases where factual issues have been found to exist in Alice Step 2. In Berkheimer, the

Federal Circuit noted that the specification explicitly “describe[d] an inventive feature that store[d]

parsed data in a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369

(Fed. Cir. 2018). The court added that “[t]he improvements in the specification, to the extent they

are captured in the claims, create a factual dispute regarding whether the invention describes well-

understood, routine, and conventional activities . . . so we must analyze the asserted claims and

determine whether they capture these improvements.” Id. After finding that some claims “contain

limitations directed to the arguably unconventional inventive concept described in the

specification,” the court held that there was a question of fact as to whether those claims perform

“well-understood, routine, and conventional activities.” Id. at 1370.

       It should be noted, however, that “[t]he Berkheimer [] cases do not stand for the proposition

that a plaintiff can avoid dismissal simply by reciting in the complaint that the invention at issue

is novel and that the inventive concept resides in the abstract idea itself.” First-Class Monitoring,

LLC v. Ups of Am., Inc., 389 F. Supp. 3d 456, 471 (E.D. Tex. 2019) (emphasis added).

Furthermore, “[a]ny allegation about inventiveness, wholly divorced from the claims or the

specification, does not defeat a motion to dismiss; only plausible and specific factual allegations


                                                  17
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 23 of 26 PageID #: 187




that aspects of the claims are inventive are sufficient.” Dropbox, Inc. v. Synchronoss Techs., Inc.,

815 F. App’x 529, 538 (Fed. Cir. 2020) (internal quotations omitted).

       Here, Symbology’s bare and implausible allegations in the Complaint cannot defeat this

motion; otherwise, Rule 12(b)(6) would be rendered toothless against plaintiffs who plead “magic

words.” (See, e.g., Compl., ¶¶ 23-24, 28, 28, 33.) Patentee plaintiffs should not have the power to

unilaterally declare that their claims are inventive. See Appistry, Inc. v. Amazon.com, Inc., 195 F.

Supp. 3d 1176, 1183, n.6 (W.D. Wash., 2016) aff’d sub nom. Appistry, LLC v. Amazon.com, Inc.,

676 F. App’x 1008 (Fed. Cir. 2017) (“Plaintiff’s position is absurd. Requiring the Court to accept

such facts or legal conclusions (even in the form of an early expert declaration) would permit any

plaintiff to circumvent the § 101 inquiry on an early motion to dismiss or motion for judgment on

the pleadings simply by including a few lines attesting to the novelty of the invention.”). At the

end of the day, what matters is what is claimed, and the patent claims nothing more than the

abstract idea of data recognition and retrieval.

       The Court’s ineligibility analysis should also disregard Symbology’s boilerplate legal

conclusions about the inventive aspects of its asserted patent. See Simio, LLC v. FlexSim Software

Products, Inc., 983 F.3d 1353, 1366 (Fed. Cir. 2020) (“We disregard conclusory statements when

evaluating a complaint under Rule 12(b)(6).”). For example, Symbology alleges that “[the

Asserted Patents] provide improvements to conventional hardware and software systems and

methods.” (Compl., ¶¶ 24.) This is not a factual allegation—it is a legal conclusion by which

Symbology attempts to unilaterally declare its patent is directed to eligible subject matter. See

Simio, 983 F.3d at 1366 (“A statement that a feature ‘improves the functioning and operations of

the computer’ is, by itself, conclusory.”). The Court should disregard these statements.




                                                   18
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 24 of 26 PageID #: 188




       Once Symbology’s conclusory legal allegations about the inventiveness of its asserted

patent are properly disregarded, there is nothing left to preclude a determination of ineligibility on

the pleadings. Accordingly, DexCom’s motion is ripe, and it should be granted.

VII.   CONCLUSION

       For the foregoing reasons, DexCom respectfully requests that the Court render judgment

on the pleadings against Symbology and dismiss Symbology’s claims in their entirety. Because

leave to amend would be futile, DexCom requests dismissal with prejudice.




                                                 19
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 25 of 26 PageID #: 189




 Dated: January 5, 2023             Respectfully submitted,

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                                     20
Case 2:23-cv-00473-JRG Document 10 Filed 01/05/24 Page 26 of 26 PageID #: 190




                CERTIFICATE OF COMPLIANCE WITH THE COURT’S
                    35 U.S.C. § 101 MOTION PRACTICE ORDER

       ____   The parties agree that prior claim construction is not needed to inform the Court’s
              analysis as to patentability.

       __X__ The parties disagree on whether prior claim construction is not needed to inform
             the Court’s analysis as to patentability.

                                         /s/ Ricardo J. Bonilla
                                         Ricardo J. Bonilla




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy has been electronically filed using the CM/ECF

filing system on January 5, 2024, which automatically sends email notifications to all counsel of

record and which will permit viewing and downloading of same from the CM/ECF system.



                                            /s/ Neil J. McNabnay
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                                               21
